                                                       IT IS ORDERED
                                                       Date Entered on Docket: June 25, 2019




                                                       ________________________________
                                                       The Honorable David T. Thuma
                                                       United States Bankruptcy Judge
______________________________________________________________________
                         UNITED STATES BANKRUPCTY COURT
                             DISTRICT OF NEW MEXICO

     IN RE:

            Elena Chavez,

                    Debtor.                             Case No. 19-10578-TA7


                  DEFAULT ORDER GRANTING RELIEF FROM STAY AND
                      ABANDONMENT OF PROPERTY LOCATED AT
                      3609 Vista Del Sur St NW, Albuquerque, NM 87120

            This matter came before the Court on the Motion for Relief from Stay and

     Abandonment of Property filed on May 21, 2019, Docket No. 15 (the “Motion”), by

     Guild Mortgage Company (“Movant”). The Court, having reviewed the record and the

     Motion, and being otherwise sufficiently informed, FINDS:

            (a)     On May 21, 2019, Movant served the Motion and notice of the Motion

     (the “Notice”) on counsel of record for Debtor, Elena Chavez, and the case trustee,

     Yvette J. Gonzales, (the “Trustee”) by use of the Court’s case management and electronic

     filing system for the transmission of notices, as authorized by Fed.R.Civ.P. 5(b)(3) and



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  NM LBR 9036-1, and on the Debtor and US Trustee by United States first class mail, in

  accordance with Bankruptcy Rules 7004 and 9014;

          (b)    The Motion relates to the following property legally described as:

  LOT NUMBERED TWELVE-P1 (12-P1) IN BLOCK NUMBERED SIX (6) OF FAIRWAY
  MANOR UNIT 1, AS THE SAME IS SHOWN AND DESIGNATED ON THE PLAT OF SAID
  ADDITION FILED IN THE OFFICE OF THE COUNTY CLERK OF BERNALILLO
  COUNTY, NEW MEXICO, ON JANUARY 4, 1994, IN VOL 94C, FOLIO 2. TAX PARCEL
  IDENTIFICATION NUMBER: 101006034630240514

                 and commonly known as: 3609 Vista Del Sur St NW, Albuquerque, NM
                 87120;

          (c)    The Notice specified an objection deadline of 21 days from the date of

  service of the Notice, to which three days was added under Bankruptcy Rule 9006(f);

          (d)    The Notice was sufficient in form and content;

          (e)    The objection deadline expired on June 17, 2019;

          (f)    As of June 19, 2019, no objections to the Motion have been filed;

          (g)    The Motion is well taken and should be granted as provided herein; and

          (h)    By submitting this Order to the Court for entry, the undersigned counsel

  for Movant certifies under penalty of perjury that on June 19, 2019, McCarthy &

  Holthus, LLP searched the data banks of the Department of Defense Manpower Data

  Center (“DMDC”) and found that the DMDC does not possess any information indicating

  that the Debtor is currently on active military duty of the United States.

          IT IS THEREFORE ORDERED:

          1.     Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens

  against the Property, of any lien priority, are hereby granted relief from the automatic

  stay:




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            (a)   To enforce their rights in the Property, including foreclosure of liens and a

  foreclosure sale, under the terms of any prepetition notes, mortgages, security

  agreements, and/or other agreements to which Debtor is a party, to the extent permitted

  by applicable non-bankruptcy law, such as by commencing or proceeding with

  appropriate action against the Debtor or the Property, or both, in any court of competent

  jurisdiction; and

            (b)   To exercise any other right or remedy available to them under law or

  equity with respect to the Property.

            2.    The Property is hereby abandoned pursuant to 11 U.S.C. §554 and is no

  longer property of the estate. Creditor shall not be required to name the Trustee as a

  defendant in any action involving the Property or otherwise give the Trustee further

  notice.

            3.    The automatic stay is not modified to permit any act to collect any

  deficiency or other obligation as a personal liability of the Debtor, although the Debtor

  can be named as a defendant in litigation to obtain an in rem judgment if Debtor is

  granted a discharge, or to foreclose the Property in accordance with applicable non-

  bankruptcy law. Nothing contained herein shall preclude Creditor or and any and all

  holders of liens against the Property, from proceeding against the Debtor personally, to

  collect amounts due, if Debtor's discharge is denied or if Debtor's bankruptcy is

  dismissed.

            4.    This Order shall continue in full force and effect if this case converted to a

  case under another chapter of the Bankruptcy Code.




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         5.      This Order is effective and enforceable upon entry. The 14-day stay

  requirement of Fed.R.Bankr.P. 4001(a)(3) is waived.

         6.      Movant is further granted relief from the stay to engage in loan

  modification discussions or negotiations or other settlement discussions with the Debtor

  and to enter into a loan modification with the Debtor.

                                  ###END OF ORDER###

  RESPECTFULLY SUBMITTED BY:


  /s/ Daniel Grunow
  McCarthy & Holthus, LLP
  Daniel Grunow, Esq.
  Attorney for Movant,
  6501 Eagle Rock NE, Suite A-3
  Albuquerque, NM 87113
  (505) 219-4900
  /s/ submitted electronically 6/19/2019
  dgrunow@mccarthyholthus.com


  COPIES TO:

  DEBTOR
  Elena Chavez
  3609 Vista Del Sur St. NW
  Albuquerque, NM 87120

  CASE TRUSTEE
  Yvette J. Gonzales
  yjgllc@yahoo.com

  US TRUSTEE
  PO Box 608
  Albuquerque, NM 87103-0608

  SPECIAL NOTICE
  Yamira Posada
  6721 Esther Ave. NE
  Albuquerque, NM 87109



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  SPECIAL NOTICE
  Scott E Turner
  scott@turnerlaw.us




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